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                EXHIBIT 14
                Case 4:24-cv-00338
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                      RESIDENTS          BUSINESS   VISITORS                                       GOVERNMENT     SERVICES     CONTACT / SEARCH




                                   MAYOR'S OFFICE FOR HOMELESS INITIATIVES



    > Mayor's Office for Homeless Initiatives




                                                                                                                CONTACT OUR OFFICE
MAYOR'S OFFICE FOR HOMELESS INITIATIVES                                                                         Mayor’s Office for Homeless Initiatives
Please note: The Mayor’s Office for Homeless Initiatives does NOT provide direct services.                      City of Houston
The Mayor’s Office for Homeless Initiatives (MOHI) manages the City of Houston’s response to                    901 Bagby St., 4th Floor, Houston, TX 7
homelessness by coordinating the efforts of various City agencies, including the Housing and Community          Office: 832.393.0959
Development Department, the Health and Human Services Department, the Houston Police Department                 marc.eichenbaum@houstontx.gov
and others. The MOHI develops best practice-oriented public policy for the City of Houston, while guiding
the City’s participation in ongoing regional planning activities.

Externally, the MOHI coordinates directly with the federal, state and regional governments, national
experts and local housing authorities. Additionally, the office works closely with private, philanthropic,
faith-based, neighborhood and local homeless service organizations to advance Houston’s regional
response to homelessness known as ‘The Way Home.’

The MOHI provides vital leadership to The Way Home and works closely with its’ lead agency, the
Coalition for the Homeless, and over 100 public and private agencies to prevent and reduce
homelessness using the data-driven, national best practice of ‘Housing First.’ By providing supportive
housing to the homeless, Housing First breaks and ends the cycle of homelessness. Since 2012, The Way
Home and its’ partners have permanently housed over 16,000 individuals and families, with 90% still
housed to this day, resulting in an overall reduction in homelessness of over 50% since 2011 and making
The Way Home arguably the most successful big city homeless response initiative in the United States.

   Mayor: City & Non-Profit Partners Housing More Homeless People as Workers Close and Remove
   Hazards from Wheeler Encampment Today
   Mayor Responds to Resident's Open Letter About Homeless People's Encampments
   Mayor and Non-Profit Agencies Announce Major Achievement in Housing the Homeless
   City Exploring New Downtown Option for Homeless People
   Houston’s regional plan – The Way Home Action Plan
   Homelessness Facts and Info
   Catalog of homeless supportive services in Houston

https://www.houstontx.gov/homeless/#                                                                                                                      1/2
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